             Case 22-60043 Document 254 Filed in TXSB on 10/25/22 Page 1 of 2
                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                      October 25, 2022
                             UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk

                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                §
                                                          §
    FREE SPEECH SYSTEMS, LLC,                             §            Case No. 22--60043
                                                          §
                                     DEBTOR.              §            (Subchapter V Debtor)
                                                          §                Chapter 11


                  ORDER GRANTING MOTION FOR EXTENSION OF TIME TO
                          FILE A PLAN OF REORGANIZATION

             Upon the Debtor’s Motion for Extension of Time to File a Plan of Reorganization

(“Motion”) 1; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided, and it appearing that no other or further notice need be provided; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefore, IT IS

HEREBY ORDERED THAT:

             1.    Pursuant to 11 U.S.C. § 1189(b), the time to file a plan of reorganization is hereby

extended until December 16, 2022. This extension is without prejudice to requests for

additional extensions.

             2.    The Court retains exclusive jurisdiction with respect to all matters arising or related

to the implementation, interpretation, and enforcement of this Order.


1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Motion.
  Case 22-60043 Document 254 Filed in TXSB on 10/25/22 Page 2 of 2




 The Court retains exclusive jurisdiction with respect to all matters arising or related to the

implementation, interpretation, and enforcement of this Order.




     August25,
     October 02,2022
                 2019




                                            2
